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 4
     Attorney for Defendant, CHARLIE STEVENSON
 5

 6                                 UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
                                                          )
 9   UNITED STATES OF AMERICA,                            ) Case No.: 1:16-CR-00176/ 1:16-CR-00187
                                                          )
10                       Plaintiff,                       ) STIPULATION TO CONTINUE SENTENCING
             vs.                                          ) HEARING; ORDER
11                                                        )
                                                          )
12   CHARLIE STEVENSON                                    ) Sentencing Date: November 18, 2019
                                                          ) Time: 10:00 a.m.
13
                        Defendant.                        ) Judge: Dale A. Drozd
14
                                                          )

15           IT IS HEREBY STIPULATED by and between the parties hereto, and through their
16   respective attorneys of record, that the sentencing hearing in the above captioned matter
17   now set for November 18, 2019 at 10:00 am, may be continued to February 10, 2020.

18           The continuance is requested by counsel for Defendant, CHARLIE STEVENSON as

19   Attorney Daniel L. Harralson by this Stipulation is asking authority from the Court to
     perform work necessary to present all relevant sentencing issues to the Court.
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                                              US v. Charlie Stevenson
                                       Stipulation to Continue Sentencing Hearing
          Case 1:16-cr-00176-DAD-BAM Document 302 Filed 09/25/19 Page 2 of 2


     DATED: September 24, 2019              Respectfully Submitted,
 1
                                            DANIEL L. HARRALSON ATTORNEY AT LAW
 2

 3                                             /s/ Daniel Harralson
                                            DANIEL L. HARRALSON
 4                                          Attorney for Defendant

 5
     DATED: September 24, 2019              UNITED STATES ATTORNEYS OFFICE
 6

 7
                                               /s/ Kimberly A. Sanchez
 8                                          KIMBERLY A. SANCHEZ
                                            Assistant United States Attorney
 9

10                     ---------------------------------------------------------------------
11

12

13                                                  ORDER
14
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15
            IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18
16
     U.S.C.§3161 (h)(7)(A) and (B)
17

18   IT IS SO ORDERED.
19
        Dated:    September 24, 2019
20
                                                                UNITED STATES DISTRICT JUDGE

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22

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25                                                        -2-
                                              US v. Charlie Stevenson
                                       Stipulation to Continue Sentencing Hearing
